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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 ALEXA SPRIGGS, et al,

                 Plaintiffs,

         v.                                             Civil Case No. 1:20-cv-3395

 GEORGE MERLING, et al.

               Defendants.

                   JOINT STATUS REPORT REGARDING DISCOVERY

       Plaintiffs Alexa Spriggs and Ian Beattie (“Plaintiffs”), by and through their undersigned

counsel and Defendants George Merling and Allegany Medical Marijuana Dispensary, LLC

(“Defendants”) (jointly “The Parties”), through their undersigned counsel, hereby file this Joint

Status Report, and state the following:

       The Parties sincerely apologize for the tardiness of this Report. The delay is due solely to

counsel’s schedules, and not in any part due to their clients.

   A. Whether discovery has been completed.

       That Parties have not been able to complete discovery. Along with this Joint Status Report,

the Parties also file a Joint Motion for Extension of Time requesting to extend the discovery

deadline to Friday, April 1, 2022. The parties have engaged in written discovery and are working

to schedule depositions. Unfortunately, the Parties have attempted to schedule the depositions on

multiple occasions, which have necessarily been rescheduled due to a variety of issues. During

this time, at separate times, Defendants have contracted COVID-19, Defendant’s counsel has

contracted COVID-19, Defendant’s counsel’s office has been closed due to office-wide COVID-

19 exposure on two occasions, Plaintiff’s Counsel has contracted COVID-19, and Plaintiff Alexa

Spriggs went into early induced labor last week. To add to the difficulties listed above, Jason

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Buckel, lead counsel on behalf of Defendants is a member of the Maryland General Assembly and

largely unavailable from January 12, 2022 through April 11, 2022. Presently, depositions have

been scheduled in this matter for March 24, 25, and 28.

       Counsel are confident that extending the discovery deadline to April 1, 2022 will allow for

depositions to be completed as well as any follow-up necessary from the depositions. Presently, a

Settlement Conference has been scheduled for May 6, 2022.



Respectfully submitted,                               Respectfully submitted,


    /s/                                                   /s/
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                                                      *Executed by Roy Lyford-Pike with
                                                      permission




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 3rd day of February, 2022, a true and correct copy of
the foregoing was served through the CF/ECF system on all parties entitled to service.

                                                        /s/
                                                  By: Roy Lyford-Pike, Bar Number: 19836




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